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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT

MARIO CERAME ET AL.,                          :            No. 3:21-cv-01502-AWT
         Plaintiffs,                          :
                                              :
             v.                               :
                                              :
MICHAEL BOWLER ET AL.,                        :
         Defendants.                          :            DECEMBER 28, 2021


                  MEMORANDUM OF LAW IN SUPPORT OF
                   DEFENDANTS’ MOTION TO DISMISS

      The Judges of the Connecticut Superior Court recently adopted Rule 8.4(7) of

the Rules of Professional Conduct (“the Rule), which provides that it is misconduct

for an attorney to engage in harassment or discrimination related to their practice of

law. The Rule was the culmination of an extensive deliberative process, both in

Connecticut and nationwide, and it received overwhelming support from numerous

stakeholders, including the Connecticut Bar Association and law firms, law schools,

and private attorneys.     At the conclusion of that process the Judges voted

unanimously to adopt the Rule, and in doing so took an important step to advance

the State’s compelling interests to ensure the integrity of the bar and the judicial

process and to eliminate discrimination and harassment in the legal profession.

      In advancing those important state interests the Judges were respectful—

indeed, accommodating—of attorneys’ right to free speech. The commentary to the

Rule expressly provides that the Rule does not apply to speech protected under both

the First Amendment and the Connecticut constitution. Separate and apart from

that protection, moreover, the procedures through which grievances are resolved

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independently require both the Statewide Grievance Committee and the state courts

to dismiss a grievance if imposing discipline under the Rule would violate an

attorney’s constitutional rights. And because the state judicial process requires those

determinations to be made in concrete grievances based on actual facts and evidence,

the state courts exercising jurisdiction over disciplinary matters are best situated to

identify, assess and protect any First Amendment interests that may be implicated

by a particular grievance. The state courts take this duty seriously, and there is no

reason to believe they cannot adequately perform their judicial function consistent

with the Rule and the state and federal constitutions.

      Despite those protections, Plaintiffs ask this Court to intrude on the State’s

sovereign function to regulate the legal profession and to declare the Rule facially

unconstitutional. Plaintiffs make that request before the Rule has even gone into

effect or been applied to any attorney. By definition, Plaintiffs’ pre-enforcement facial

challenge is not based on the kind of concrete facts that would be presented in a

properly filed grievance, but on abstract and hypothetical scenarios that Plaintiffs

believe are both protected First Amendment activity and subject to the Rule. But

that is a legal impossibility: an attorney’s actions can be either protected by the First

Amendment or within the scope of the Rule, but not both. And it is for the state

courts to determine which of the two it is in each individual case based on concrete

facts and evidence that illustrate the precise contours of the claimed First

Amendment interests at issue.




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      In reality, then, this case is not a facial First Amendment challenge to the Rule

in any meaningful sense, since neither the Rule nor Connecticut’s grievance

procedures permit an attorney to be disciplined for engaging in constitutionally

protected speech. Instead, the case is an improper request for this Court to usurp the

state courts’ judicial function to protect constitutional rights in grievances pending

before them and to preemptively obtain an advisory opinion about whether

hypothetical conduct not before the Court is protected by the First Amendment such

that it does not fall within the scope of the Rule. Several conclusions flow from this,

all of which require dismissal.

      First, the Eleventh Amendment bars this suit in its entirety. Because the Rule

does not proscribe constitutionally protected speech, the Rule’s mere existence cannot

be an ongoing violation of federal law for purposes of Ex Parte Young. The only way

such a violation could occur is if the Statewide Grievance Committee and the state

courts fail to heed the Rule’s commentary and their obligations under both the

grievance procedures and the state and federal constitutions and discipline an

attorney for engaging in protected speech. It would be an afront to the State’s

sovereignty and basic principles of federalism for this Court to assume that the state

judiciary either cannot or will not follow the Rule and the constitution in that way, to

usurp the judiciary’s function to assess and protect any First Amendment interests

in grievances pending before them, and to facially invalidate a duly enacted Rule of

Professional Conduct based on hypothetical speech that expressly is excluded from

the scope of the Rule.



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      Second, even if Plaintiffs had alleged an ongoing violation of federal law, the

Supreme Court’s recent decision in Whole Woman’s Health v. Jackson, No. 21-463,

2021 U.S. LEXIS 6144 (Dec. 10, 2021) makes clear that Defendants are not proper

parties for purposes of either Ex Parte Young or Article III.           That is because

Defendants are not “adverse” to an attorney and do not “enforce” state laws in the

way that administrative agencies do. They instead act as an arm of the Superior

Court and perform an exclusively judicial function to interpret and apply the Rules

of Professional Conduct to resolve disputes between a complainant and an attorney.

Ex Parte Young does not permit pre-enforcement “injunctive relief against a state

court” or its “machinery,” and Plaintiffs’ proper recourse is therefore to raise any First

Amendment concerns they might have as a defense in an as-applied grievance

proceeding, if one ever arises. Whole Woman’s Health, 2021 U.S. LEXIS 6144 at *15.

      Third, and relatedly, Plaintiffs cannot establish standing. Their claimed injury

boils down to nothing more than their subjective fear that they will be disciplined for

engaging in protected speech that expressly is excluded from the scope of the Rule.

Not only is there no realistic chance of that injury occurring, any chance that it will

occur depends on a string of speculative actions by independent third parties that

have not happened and likely never will.          That includes decisions by several

disciplinary authorities and state courts to ignore their obligation to dismiss a

grievance if it is based on protected speech. Any purported “chill” that Plaintiffs may

perceive based on those speculative and decidedly unlikely actions plainly is not

enough to establish Article III standing.



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                            FACTUAL BACKGROUND

      A.     Connecticut’s Adoption Of Rule 8.4(7)

      The Rule has its genesis in the American Bar Association’s Model Rule 8.4(g),

which the ABA adopted in 2016. In the ensuing five years, numerous states have

adopted Model Rule 8.4(g) or some variation of it, and several other states currently

are considering adoption. That includes both New York and Vermont, Connecticut’s

sister states in the Second Circuit.

      Perceiving a problem of harassment and discrimination within Connecticut’s

own legal profession, two lawyers proposed the Model Rule to the Rules Committee

of the Superior Court, which tabled the proposal and instructed the proponents to

coordinate with the Connecticut Bar Association (“CBA”) to develop a new proposal.

The CBA engaged in an extensive investigative and deliberative process to determine

the nature and severity of the problem and the best ways to address it, including a

comprehensive survey of attorneys’ experiences with discrimination and harassment

in their legal practice. The result was the current version of the Rule, which the CBA

proposed and the Judges of the Superior Court collectively—and unanimously—

adopted at their meeting held in June 2021. See generally Compl., ¶¶ 30-39.

      The adopted changes amended Rule 8.4 of Rules of Professional Conduct to add

subsection (7), which now provides that:

      It is professional misconduct for a lawyer to: . . . (7) engage in conduct
      that the lawyer knows or reasonably should know is harassment or
      discrimination on the basis of race, color, ancestry, sex, pregnancy,
      religion, national origin, ethnicity, disability, status as a veteran, age,
      sexual orientation, gender identity, gender expression or marital status
      in conduct related to the practice of law. This paragraph does not limit

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      the ability of the lawyer to accept, decline or withdraw from a
      representation, or to provide advice, assistance or advocacy consistent
      with these Rules.

      In addition to those changes to the text, the Judges unanimously adopted new

commentary to explain the Rule’s intended meaning and scope. Although “the text

of each [r]ule is authoritative” and the commentaries cannot conflict with it, the

Connecticut Supreme Court has made clear that the commentary “explains and

illustrates the meaning and purpose of the [r]ule” and that the Rule therefore ‘‘must

be read together with its [c]ommentary in order for it to be fully and properly

understood.’’ Cohen v. Statewide Griev. Comm., 339 Conn. 503, 514 (2021). For

purposes of this motion, three aspects of the commentary inform how the Rule should

be interpreted and applied.

      First, the commentary explains that the term “discrimination” is intended to

cover verbal or physical “conduct” that is “directed at an individual” and “harmful” to

that individual.   Compl., ¶ 41.    Similarly, the term “harassment” commonly is

understood to mean conduct directed to a particular person, 1 and the commentary

explains that such conduct must be “severe or pervasive” and “derogatory or

demeaning” to constitute a violation. Id., ¶ 41. The Rule therefore does not proscribe

“offensive speech” in the abstract. It instead addresses the specific vice of “conduct”

that is directed at specific individuals and causes those individuals harm. See infra

at 30 n.5 (discussing difference between conduct and speech).



1      Merriam Webster, https://www.merriam-webster.com/dictionary/harass (last
visited December 6, 2021) (describing the essential meaning of harass as “to annoy
or bother (someone) in a constant or repeated way”).
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      Second, the commentary provides that “[n]ot all conduct that involves

consideration of” the protected categories will constitute discrimination or

harassment, and that conduct implicating those categories will fall outside of the Rule

if “there [is] a legitimate nondiscriminatory basis for the conduct.” Id. Thus, simply

alleging that a person wishes to engage in conduct that “affects” one or more of the

protected categories will not, without more, violate the Rule. See id., ¶ 51.

      Third, and most importantly for purposes of this motion, the commentary

expressly provides that “[a] lawyer’s conduct does not violate paragraph (7) when the

conduct in question is protected under the first amendment to the United States

constitution or article first, § 4 of the Connecticut constitution.” Id., ¶ 41. This

unambiguous guidance, which the Judges deliberately put into the commentary,

reflects their clear intent that Rule 8.4(7) does not apply to speech that is

constitutionally protected, that discipline cannot be imposed under the Rule based on

such speech, and that the disciplinary authorities and state courts exercising

jurisdiction over disciplinary matters should not and cannot permit grievances to

proceed under the Rule to the extent they are based on such speech.

      B.     Connecticut’s Disciplinary Process

      Under Connecticut law, the regulation and discipline of attorneys is

exclusively a judicial function performed by the Judges of the Superior Court, who

have “inherent authority to regulate attorney conduct and to discipline members of

the bar.” Statewide Grievance Comm. v. Presnick, 215 Conn. 162, 166 (1990). The

Judges have delegated portions of this judicial function to the Statewide Grievance



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Committee (“SGC”) and other disciplinary authorities, who “act as an arm of the

court” when exercising their duties.       Presnick, 215 Conn. at 167; Sobocinski v.

Statewide Grievance Com., 215 Conn. 517, 526 (1990). The SGC is thus “a judicial

entity,” and any proceedings before it are tantamount to “judicial proceedings” of the

state courts themselves. Chester v. Willey, No. 374862, 1991 Conn. Super. LEXIS

1409, at *5-6 (Super. Ct. June 7, 1991).

      Exercising this exclusive and inherent authority, the Judges have adopted a

comprehensive process for resolving complaints of attorney misconduct, including

grievances based on Rule 8.4(7). See Conn. Prac. Bk. §§ 2-29 et seq. Like the Rule

itself, that process is full of procedural safeguards to ensure that attorneys’ First

Amendment rights are protected.

      Specifically, when Defendants 2 receive a complaint, they conduct an initial

review and must dismiss the complaint if it fails to state a claim. Id., § 2-32(a)(2)(B).

If it is clear from the face of the complaint that a grievance is based on constitutionally

protected speech, therefore, Defendants must dismiss a complaint under Rule 8.4(7)

at that threshold review without requiring the attorney to even file a response.

      If it is not clear from the face of the complaint that it fails to state a claim,

Defendant Bowler must refer the matter to a local grievance panel to investigate the

complaint and determine whether there is probable cause that the attorney engaged

in misconduct. Id., § 2-32(b), (f). This preliminary investigation before the grievance




2     Defendants are the Statewide Bar Counsel and the Chairman of the Statewide
Grievance Committee.
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panel is confidential. Id., § 2-32(g). The attorney then has an opportunity to file an

initial response, which can include a hearing and legal argument. Id., § 2-32(h). If

the complaint implicates Rule 8.4(7), that response could include evidence and

argument about the nature of the alleged conduct and why the attorney believes it is

constitutionally protected speech. If the conduct is constitutionally protected and

therefore not within the scope of the Rule, the grievance panel must dismiss the

complaint for lack of probable cause. Id., § 2-32(i)(2). Such a dismissal is with

prejudice and not subject to appeal. Id.

      If the grievance panel finds there is probable cause that the attorney engaged

in discrimination or harassment within the scope of the Rule, the panel must forward

the complaint to the SGC, which typically assigns the complaint to a reviewing

committee. Id., §§ 2-32(i)(1) and 2-35(a). The reviewing committee must then “hold

a hearing on the complaint.” Id., § 2-35(c). The attorney has the right to counsel, to

be heard in his or her own defense, to present evidence, to examine and cross-examine

witnesses, and to present legal argument. Id., § 2-35(h). That could again include

evidence and argument that the alleged conduct is protected by the First Amendment

and therefore not within the scope of the Rule. If that is the case, the reviewing

committee likewise must dismiss the complaint. Id., § 2-35(i).

      If the reviewing committee finds that the attorney engaged in misconduct

within the scope of the Rule, the attorney then has a right to seek further review by

the full SGC. Id., §§ 2-35(k) and 2-36. Any sanctions imposed by the reviewing

committee are automatically stayed during the pendency of such review. Id., § 2-



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35(i). Further, the practice book expressly provides that the SGC must review not

only whether the attorney substantively violated the Rule, but also whether “the

reviewing committee’s findings, inferences, conclusions or decision is or are: (1) in

violation of constitutional . . . provisions . . . .” Id., § 2-35(k)(1). Thus, not only does

the Rule itself affirmatively require the SGC to identify and protect First Amendment

interests, so too do the grievance procedures.

       In addition to all of these constitutional protections in proceedings before the

SGC, attorney grievances ultimately are resolved by the state courts, which have

inherent authority to discipline attorneys in matters pending before them and also

hear de novo presentments and appeals from discipline the SGC may impose. Id.,

§§ 2-38(a) and 2-47. As with a request for review before the full SGC, any sanctions

imposed on an attorney are automatically stayed during the pendency of a court

appeal. Id., § 2-38(b). The attorney is again entitled to submit a brief and may

present oral argument to the Superior Court upon request. Id., § 2-38(d) and (e). And

like the full SGC before it, the Superior Court has an obligation—under Rule 8.4(7),

Practice Book § 2-38(f) and independently under the state and federal constitutions—

to dismiss a grievance if the court determines that the attorney’s alleged conduct is

legally protected by the First Amendment. If the attorney is not satisfied with the

Superior Court’s ruling, the attorney may seek further review by the Connecticut

Appellate and Supreme Courts and, if necessary, the United States Supreme Court.

Id., § 2-38(f).




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      C.     Plaintiffs’ Claims and Allegations

      Completely ignoring these First Amendment protections in both the Rule and

the grievance procedures, Plaintiffs brought this pre-enforcement facial challenge in

which they ask this federal Court to usurp the state courts’ judicial function discussed

above and to preemptively invalidate the Rule before it has even gone into effect.

Specifically, Plaintiffs claim that the Rule: (1) violates the First Amendment (Count

1); (2) is unconstitutionally vague in violation of the Fourteenth Amendment (Count

2); (3) violates Connecticut’s free speech protections contained in Article I, section 4

of the Connecticut constitution; and (4) violates the separation of powers doctrine

under Article III, section 1 of the Connecticut constitution. See Compl., ¶¶ 72-90.

      As discussed more fully below, Plaintiffs’ claims are not based on any concrete

allegations about specific conduct these individual Plaintiffs personally wish to

engage in. Nor are they based on any plausible allegation that a disciplinary action

might be initiated against Plaintiffs for engaging in protected speech, much less that

such an action would lead to discipline. The Complaint instead alleges nothing more

than abstract and hypothetical conduct that Plaintiffs think some attorneys might

engage in and that Plaintiffs subjectively believe the Rule would proscribe. For the

reasons discussed below, those conclusory and speculative assertions do not even

begin to establish this Court’s jurisdiction.




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                                    ARGUMENT

I.    THE ELEVENTH AMENDMENT BARS THIS CASE IN ITS ENTIRETY

      As much as Plaintiffs would like it to be, the constitutional question in this

case is not whether the hypothetical speech that Plaintiffs abstractly identify in their

Complaint is protected by the First Amendment. Nor is the question whether the

Rule would apply to such activities to the extent they are constitutionally protected,

as there is no question it would not. Rather, the only relevant constitutional question

for this Court to decide is what forum, and in what procedural context, any potential

First Amendment interests can and should be identified and protected. The Eleventh

Amendment requires that determination to be made through the state judicial

process that accounts for and affirmatively seeks to protect those interests.

      A.     Ex Parte Young Does Not Apply Because Plaintiffs Have Not
             Alleged An Ongoing Violation Of Federal Law, And Because Any
             Attempt By This Court To Preempt Hypothetical Future
             Violations Would Improperly Intrude On The State’s
             Sovereignty And Deny The State And Its Judiciary The Dignity
             And Respect To Which They Are Entitled

      It is well established that the States retained their status as independent

sovereigns when they entered the Union. Alden v. Maine, 527 U.S. 706, 714 (1999).

The Eleventh Amendment accords States the “dignity” and “respect” that comes with

that sovereign status by providing them with a “broad” and “inviolable” immunity

from suit in federal court. Fed. Mar. Comm’n v. S. Carolina Ports Auth., 535 U.S.

743, 751, 760, 765 (2002); Idaho v. Coeur d’Alene Tribe of Idaho, 521 U.S. 261, 268

(1997) (majority opinion); Seminole Tribe of Florida v. Florida, 517 U.S. 44, 54 (1996).

That immunity has its basis in principles of federalism and comity, and is premised

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on the indignity that would result if one sovereign could be made to appear against

its will in the courts of another. Pennhurst State Sch. & Hosp. v. Halderman, 465

U.S. 89, 99-100 (1984).

       Although the protections afforded by the Eleventh Amendment are extensive,

under Ex Parte Young the State’s immunity may be overcome when the suit seeks

prospective relief against state officials for ongoing violations of federal law. But the

Supreme Court has reiterated time and again that Ex Parte Young is a “narrow

exception” to the “broader” principle of sovereign immunity, and that it must be

“narrowly construed” so that the Eleventh Amendment is not reduced to an “empty

formalism.” Whole Woman’s Health, 2021 U.S. LEXIS 6144 at *15; Pennhurst, 465

U.S. at 98, 102, 114 n.25; Seminole Tribe, 517 U.S. at 76; Virginia Office for Prot. &

Advocacy v. Stewart, 563 U.S. 247, 256 (2011), quoting Coeur d’Alene, 521 U.S. at 270.

In doing so, the Court has stressed that, although Ex Parte Young reflects a judicial

effort to “harmonize” the Eleventh Amendment with the supremacy of federal law, it

is not a vehicle by which federal courts may blindly subrogate the States’ sovereignty.

Pennhurst, 465 U.S. at 105; Papasan v. Allain, 478 U.S. 265, 277 (1986). To the

contrary, “[a]pplication of the Young exception must reflect a proper understanding

of its role in our federal system . . . .” Coeur d’Alene, 521 U.S. at 270 (majority

opinion). That role is to allow federal courts to issue relief that is “tailored to conform

as precisely as possible to those specific situations in which it is necessary” for

the vindication of federal law. Papasan, 478 U.S. at 277 (emphasis added; quotation

marks omitted).



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      Given those principles that govern and define the doctrine, this case is a

paradigm example of when Ex Parte Young should not apply. That is true for three

reasons.

      First, intervention by this federal court is not “necessary” to vindicate an

“ongoing” violation of federal law, and it certainly is not necessary at this time.

Papasan, 478 U.S. at 277. To the contrary, Plaintiffs have not alleged an existing or

ongoing violation at all because the Rule simply does not apply to or proscribe

constitutionally protected speech. The Rule’s mere existence therefore cannot be the

basis for invoking Ex Parte Young. The only way an actual and ongoing violation of

federal law theoretically could occur is if the disciplinary authorities and the state

courts both abdicate their obligations under the Rule, the applicable grievance

procedures, and the state and federal constitutions by imposing discipline on an

attorney for engaging in protected First Amendment activities that are outside the

scope of the Rule. As discussed below, any such hypothetical future violation depends

on a long string of speculative events that are decidedly unlikely to occur. See infra

at 31-32. And unless and until they do, this Court’s intervention plainly is not

“necessary” to vindicate an “ongoing” violation of federal law.

      Second, Plaintiffs do not seek relief that is “tailored to conform as precisely as

possible to those specific situations” in which the Court’s intervention theoretically

might be necessary. Papasan, 478 U.S. at 277. They instead ask this Court to use

the blunt instrument of a pre-enforcement facial challenge to permanently invalidate

the Rule in all of its applications, including those that plainly would not violate the



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First Amendment. Worse yet, Plaintiffs ask the Court to issue that extraordinary

relief based not on any “specific situations” before the Court, but on abstract

hypotheticals that fail to define the precise nature of the conduct at issue or the

specific contours of the First Amendment interests that conduct might present. The

Supreme Court repeatedly has held that such pre-enforcement facial relief is “strong

medicine” that should be employed by a federal court only “sparingly” and “as a last

resort.” Broadrick v. Oklahoma, 413 U.S. 601, 613 (1973). That last resort surely is

not at hand when no constitutional violation has yet occurred and when the state

courts exercising jurisdiction over disciplinary matters are perfectly situated to

ensure that it never does.

      Third, even if Plaintiffs’ request was appropriately tailored and concrete, this

Court’s intervention at this time, and in this manner, would intrude on the State’s

sovereignty in a way that Ex Parte Young does not permit. It is a “foundational

principle of our federal system” that “[s]tate courts are adequate forums for the

vindication of federal rights.” Burt v. Titlow, 571 U.S. 12, 19 (2013). Under our

system of dual sovereignty, state courts have “inherent authority, and are thus

presumptively competent, to adjudicate claims arising under the laws of the United

States,” including “claimed violations of constitutional . . . rights.” Id. (emphasis

added). This is a “solemn responsibility” that the state courts share “equally with the

federal courts,” and the Supreme Court consistently “has refused to sanction any

decision that would ‘reflec[t] negatively upon [a] state court’s ability to” perform that

judicial function. Id., quoting Trainor v. Hernandez, 431 U.S. 434, 443 (1977).



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      This principle alone is dispositive here. As discussed throughout this brief, the

Rule, the grievance procedures and the state and federal constitutions all place an

affirmative obligation on both the SGC and the state courts to identify, assess and

protect any First Amendment protected speech before discipline can be imposed

under the Rule. That is a task that is delegated to the state judiciary in the first

instance, and they are obligated to perform it in every grievance they consider. This

Court is bound to assume that the state judiciary can and will perform this judicial

function carefully and competently, and that they will protect the very same First

Amendment rights that Plaintiffs ask this Court to address prophylactically. For this

Court to reach out and assume that state judicial function—especially in the abstract

and hypothetical circumstances that this pre-enforcement facial challenge presents—

would be a remarkable affront to the sovereignty, dignity and respect to which both

the State and its judiciary are entitled under the Eleventh Amendment.

      Importantly, that conclusion is not altered by Plaintiffs’ suggestion that they

could always raise a First Amendment defense in a disciplinary proceeding, whether

the commentary says so or not. Compl., ¶ 57. Indeed, that is precisely the point. In

Whole Woman’s Health, the Supreme Court made clear that there is no “unqualified

right to pre-enforcement review of constitutional claims in federal court,” and that

those seeking to challenge the constitutionality of state laws are “not always able to

pick and choose the timing and preferred forum for their arguments.” Whole Woman’s

Health, 2021 U.S. LEXIS 6144 at *30. It is therefore entirely appropriate to require

litigants to raise their constitutional rights through any number of other avenues,



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including most “typically as defenses to state-law claims” in state court. Id. at *29-

30. And when permitting pre-enforcement injunctive relief in federal court would

violate the Eleventh Amendment, as it would here, requiring litigants to use those

other forums is not only appropriate, it is constitutionally required. Id.

      B.     Plaintiffs Have Not Sued Proper Parties For Purposes Of Ex
             Parte Young

      In addition to the lack of an ongoing violation of federal law, the Eleventh

Amendment bars this case for the additional reason that Plaintiffs have not sued

proper parties for purposes of Ex Parte Young.

             1.     Judicial Decisionmakers Like Defendants Are Not Proper
                    Parties Under Ex Parte Young

      The SGC acts as an arm of the Superior Court. Its members and staff are

therefore judicial officers who exercise jurisdiction over judicial proceedings designed

to resolve disputes about an attorney’s compliance with the Rules of Professional

Conduct. The Supreme Court expressly held in Whole Woman’s Health that such

defendants cannot be sued under Ex Parte Young, and that holding is dispositive.

      As noted above, the courts have long held that Ex Parte Young permits a suit

to “prevent[] state executive officials from enforcing state laws that are contrary to

federal law.” Whole Woman’s Health, 2021 U.S. LEXIS 6144 at *15 (emphasis added).

It does not, however, permit federal courts to issue “an injunction against a state

court” or its “machinery,” as to do so “would be a violation of the whole scheme of our

Government.” Id. The distinction lies in the nature of the function that each perform

and their relationship to the private litigants before them.



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      Specifically, executive administrative agencies typically bring enforcement

actions against private individuals and stand in an adversarial position when they

do. Id. Executive agencies also operate under enabling legislation that typically does

not permit—much less require—case-by-case assessments of whether a litigant’s

constitutional interests might be impacted if the statute is enforced. Instead, the

agency’s task is to simply apply state law as the statute commands, without regard

to what constitutional concerns such enforcement might create.               In such

circumstances, it may be appropriate for federal courts to intervene under Ex Parte

Young because doing so vindicates the supremacy of federal law without upsetting

the principles embodied by the Eleventh Amendment. Virginia Office for Prot. &

Advocacy, 563 U.S. at 256.

      By contrast, state judges and other officials in the judicial “machinery” are not

“adverse” to the parties before them and “do not enforce state laws as executive

officials might.” Whole Woman’s Health, 2021 U.S. LEXIS 6144 at *15. They instead

“work to resolve disputes between parties” and “to resolve controversies about a law’s

meaning or its conformance to the Federal and State Constitutions.” Id. at *15-16.

Whole Woman’s Health expressly held that, if state courts err in those efforts, the

proper remedy is “some form of appeal, . . . not the entry of an ex ante injunction

preventing the state court from hearing cases” under Ex Parte Young. Id. 3



3     It is not clear whether the Court in Whole Woman’s Health intended the
“adversity” part of this discussion in particular to be relevant to the Eleventh
Amendment, standing under Article III, or both. To the extent it is the latter,
Defendants incorporate this discussion by reference into their standing analysis
below. See infra at 22-34.
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      Whole Woman’s Health is dispositive here.        As discussed above, attorney

discipline is a quintessential and exclusively judicial function performed by the state

judiciary. Although the courts have “delegated [part of their] exclusive and original

authority” over such matters to the SGC and other disciplinary authorities, those

officials “act as an arm of the court” and are thus “judicial entities” who exercise

jurisdiction over “judicial proceedings” of the state courts themselves. Presnick, 215

Conn. at 167; Sobocinski, 215 Conn. at 526; Chester, 1991 Conn. Super. LEXIS 1409

at *5-6. Defendants do not bring or initiate those proceedings, and they do not stand

in an adversarial position toward attorneys when a grievance complaint is filed.

Rather, like the judges and clerks in Whole Woman’s Health, their sole function is to

interpret and apply the Rules of Professional Conduct, to resolve complaints filed

against attorneys, and to ensure that any discipline being imposed under the Rules

complies with the First Amendment and other constitutional provisions.              As

discussed above, this Court must assume that Defendants and other officials involved

in the state judicial process can and will perform that constitutional gatekeeping

function adequately. Burt, 571 U.S. at 19. And if for some reason they do not,

Plaintiffs’ proper remedy is “some form of appeal, . . . not the entry of an ex

ante injunction preventing the state court from hearing cases” under Ex Parte Young.

Whole Woman’s Health, 2021 U.S. LEXIS 6144 at *15-16.




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             2.     Even If Defendants Were Executive Officials Who Could
                    Be Sued Under Ex Parte Young, They Still Are Not Proper
                    Defendants Because Plaintiffs Have Not Alleged That
                    Defendants Have Both The Power And Willingness To
                    Enforce The Rule In The Manner That Plaintiffs Fear

      Plaintiffs also have not sued the proper defendants with both the power and

willingness to enforce the Rule in the manner that Plaintiffs fear. The Eleventh

Amendment bars this case on that independent basis.

      Specifically, “[t]o fall within the Ex Parte Young exception . . . the defendant

state officer must have some connection with the enforcement of the act, or else [the

plaintiff] is merely making him a party as a representative of the state, and thereby

attempting to make the state a party.’” HealthNow N.Y., Inc. v. New York, 739 F.

Supp. 2d 286, 294 (W.D.N.Y. 2010). To satisfy this requirement, the state officer must

have both “a particular duty to enforce the statute in question and a demonstrated

willingness to exercise that duty” based on the conduct before the Court. Conn. Ass’n

of Health Care Facilities, Inc. v. Rell, No. 10-CV-136, 2010 U.S. Dist. LEXIS 54649,

2010 WL 2232693, at *5 (D. Conn. June 3, 2010) (emphasis added). Put differently,

the Young “exception only applies when the named defendant state officials have

some connection with the enforcement of the act and ‘threaten and are about to

commence proceedings’ to enforce the unconstitutional act.” Okpalobi v. Foster, 244

F.3d 405, 416 (5th Cir. 2001) (emphasis added). When that willingness to enforce is

not present, it cannot be said that the official is “involved in an ongoing violation of

federal law . . . .” Goodspeed Airport, LLC v. East Haddam Inland Wetlands &

Watercourses Comm’n, 632 F. Supp. 2d 185, 188 (D. Conn. 2009).



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      Plaintiffs cannot meet either of those requirements. First, Plaintiffs have not

named the correct defendants with power to impose discipline under the Rule.

Although Defendant Bowler is counsel to the SGC and has authority to dismiss

grievances on certain grounds, see Conn. Prac. Bk. § 2-32(a)(2)(B), he does not have

power to decide contested grievances or to impose discipline.         And although

Defendant Berger is the Chairman of the SGC, he is just one voting member of that

Committee and does not have unilateral authority to apply the Rule or impose

discipline under it. Such authority lies with the Committee members collectively,

and it is only through them collectively that the Rule can be either applied or

enjoined.

      Second, even if Plaintiffs had named the correct defendants, there is no

indication of a threatened enforcement action, imminent or otherwise, based on any

protected speech that Plaintiffs purportedly wish to engage in. Nor have Plaintiffs

alleged a willingness on the part of these Defendants (or any other state actor) to

apply the Rule to the extent an attorney’s alleged conduct is constitutionally

protected. To the contrary, through this brief Defendants make clear that they do

not believe the Rule applies to speech protected by the First Amendment and that

they neither intend nor are willing to apply the Rule to such speech. Given that,

Plaintiffs’ subjective belief that Defendants theoretically could apply the Rule to

protected speech—no matter how unlikely such an application would be—is precisely

the kind of “conjectural injury” that Ex Parte Young does not permit. HealthNow

N.Y., Inc., 739 F. Supp. 2d at 295.



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       C.     Pennhurst Bars Plaintiffs’ Claims That The Rule Violates The
              State Constitution

       Even if Plaintiffs had alleged an ongoing violation of federal law and named

proper defendants for purposes of Ex Parte Young, the Eleventh Amendment still

bars Plaintiffs’ claims in Counts 3 and 4. In those Counts Plaintiffs allege violations

of the Connecticut Constitution. See Compl., Counts 3 and 4. “[W]hen a plaintiff

alleges that a state official has violated state law . . . the entire basis for the doctrine

of Young . . . disappears” because “[a] federal court’s grant of relief against state

officials on the basis of state law, whether prospective or retroactive, does not

vindicate the supreme authority of federal law.” Pennhurst State Sch. & Hosp. v.

Halderman, 465 U.S. 89, 106 (1984). “On the contrary, it is difficult to think of a

greater intrusion on state sovereignty than when a federal court instructs state

officials on how to conform their conduct to state law. Such a result conflicts directly

with the principles of federalism that underlie the Eleventh Amendment.” Id.; see

also Raygor v. Regents of Univ. of Minn., 534 U.S. 533, 541 (2002) (noting that “we

cannot read § 1367(a) [the supplemental jurisdiction statute] to authorize district

courts to exercise jurisdiction over claims against nonconsenting States”).

II.    PLAINTIFFS LACK STANDING

       To the extent the Eleventh Amendment does not prohibit this Court from

assuming the state courts’ judicial function in grievances pending before them,

Article III does. That provision “limits federal courts’ jurisdiction to certain ‘Cases’

and ‘Controversies,’” which includes the requirement of standing. Clapper v. Amnesty

Int’l USA, 133 S. Ct. 1138, 1146 (2013). To establish standing Plaintiffs must allege

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an injury that is (1) “concrete, particularized, and actual or imminent;” (2) “fairly

traceable to the challenged action;” and (3) “redressable by a favorable ruling.” Id. at

1147 (quotation marks omitted).

      The first of these requirements is not satisfied here.       In pre-enforcement

challenges like this, to have standing litigants must allege that they intend to engage

in specific conduct that the statute proscribes and that there is a sufficiently

imminent risk of enforcement to justify federal court intervention. Knife Rights, Inc.

v. Vance, 802 F.3d 377, 384 (2d Cir. 2015). Although the imminence requirement may

be “a somewhat elastic concept,” the Supreme Court has made clear that “it cannot

be stretched beyond its purpose . . . to ensure that the alleged injury is not too

speculative for Article III purposes—that the injury is certainly impending.” Id.

(emphasis in original), quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 565 n.2

(1992). Even in the First Amendment context, therefore, “[a] party facing prospective

injury has standing to sue [only] where the threatened injury is real, immediate, and

direct.” Davis v. Fed. Election Comm’n, 554 U.S. 724, 734 (2008). “[A]llegations of

possible future injury are not sufficient.” Clapper, 133 S. Ct. at 1147. (emphasis in

original; quotation marks omitted). Nor is an “objectively reasonable” fear of harm.

Id. at 1147-50 and n.5. Rather, standing is established “only ‘if the threatened injury

is certainly impending, or there is a substantial risk that the harm will occur.’”

McMorris v. Carlos Lopez & Assocs., LLC, 995 F.3d 295, 300 (2d Cir. 2021), quoting

Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014).




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       In assessing whether future enforcement of a statute is sufficiently imminent

to satisfy this requirement, particular “weight must be given to the lack of a history

of enforcement of the challenged statute to like facts, that no enforcement has been

threatened as to plaintiffs’ proposed activities . . . [and that] the Government [has]

disavow[ed] any intention to prosecute on the basis of the Government’s own

interpretation of the statute and its rejection of plaintiffs’ interpretation . . . .” Blum

v. Holder, 744 F.3d 790, 798 (1st Cir. 2014); see Knife Rights, Inc., 802 F.3d at 384.

Further, the imminence requirement generally is not met when future enforcement

depends on hypothetical events that may never occur. Clapper, 133 S. Ct. at 1148-

50. That is especially true when those events depend on the actions of independent

third parties not before the Court, as the Supreme Court repeatedly has reiterated

its longstanding “reluctan[ce] to endorse standing theories that require guesswork as

to how independent decisionmakers will exercise their judgment.” Id. at 1149-50.

       Applying these principles here, Plaintiffs have not established standing

because they have not even sufficiently alleged what protected speech they personally

wish to engage in. Even if Plaintiffs had made that threshold showing, moreover,

they have and not cannot demonstrate a sufficiently imminent and likely threat of

discipline based on constitutionally protected speech.

       A.     Plaintiffs Have Not Alleged Facts Demonstrating What Specific
              Protected Speech They Personally Wish to Engage In

       As a threshold matter, Plaintiffs bear the burden to “point[] to specific facts”

showing what protected speech they wish to engage in and that they believe the Rule

proscribes. Clapper, 568 U.S. at 412 n.4. To satisfy this burden Plaintiffs “cannot

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rely solely on conclusory allegations,” and the Court is precluded from “draw[ing]

inferences from the complaint favorable to plaintiffs.” Robinson v. Sessions, 721 F.

App’x 20, 23 n.3 (2d Cir. 2018), cert. denied, 138 S. Ct. 2584 (2018) (Summary Order).

      Here, the only allegations about these Plaintiffs’ own desired speech are

abstract and conclusory assertions that Plaintiffs: (1) sometimes are “highly critical”

and “criticize” viewpoints they do not agree with, Compl., ¶¶ 3, 15; (2) sometimes use

“harsh language” or “forceful terms” when expressing their criticisms, id., ¶¶ 14, 19,

52; (3) have opposed the Waterbury Board of Education’s decision to teach critical

race theory, id., ¶¶ 18-19; and (4) their speeches “regularly address issues affecting

several of the 15 groups protected by Rule 8.4(7).” Id., ¶ 51. These are the epitome

of conclusory allegations that are insufficient to survive a motion to dismiss. 4

      For example, it is unclear how Moynahan’s intent to oppose the use of critical

race theory in the Waterbury schools has anything to do with the Rule, which is

limited to discrimination related to the practice of law and not during Board of

Education meetings. Further, even if Plaintiffs’ abstract suggestion that they wish

to espouse their views “through legal blogs, articles in legal publications, continuing

legal education (CLE) events [and] legal seminars” is enough to bring their speech

within the “related to the practice of law” requirement, Plaintiffs have not alleged

that their desired hypothetical speech meets the other requirements of the Rule.



4      The Complaint also contains conclusory allegations of speech by other
individuals that Plaintiffs claim would fall within the scope of the Rule, see Compl.,
¶ 54, as well as hypothetical speech that nobody has engaged in. See id., ¶¶ 58.
Because Plaintiffs do not allege that they personally have or will engage in such
speech, these allegations are irrelevant to the standing analysis.
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      Specifically, the Rule does not prohibit “criticizing” other viewpoints or using

“harsh language” in the abstract. Id., ¶¶ 3, 14-15, 19, 52. Nor does it prohibit conduct

merely because it “affect[s]” the protected categories. Id., ¶ 51. The Rule applies

much more narrowly to “conduct” that rises to the level of “discrimination” or

“harassment.” Those terms are intended to apply to conduct that is “directed at an

individual” and that is so “harmful” and “severe or pervasive” and “derogatory or

demeaning” that it rises to the level of a violation. See supra at 6-7. Further, conduct

that implicates the protected categories will fall outside of the Rule if “there [is] a

legitimate nondiscriminatory basis” for it. Id.

      Given all of that, Plaintiffs’ conclusory assertions that they wish to use “harsh

language” to “criticize” other points of view through “speeches” at seminars and legal

blogs does not even begin to demonstrate that their desired conduct would constitute

discrimination or harassment under any understanding of those terms. Specifically,

Plaintiffs do not suggest that they intend to target or direct their words to specific

individuals, that their words will harm those unidentified individuals or be so

pervasive, severe, derogatory and demeaning as to constitute harassment, or that

they do not have legitimate nondiscriminatory reasons for their conduct. Plaintiffs’

conclusory allegations are therefore insufficient to demonstrate even a potential

injury for this Court to redress.




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      B.     To The Extent Plaintiffs Have Alleged Specific Protected Speech
             They Wish to Engage In, The Rule Does Not Proscribe Such
             Speech And There Is Therefore No Credible Threat Of
             Enforcement Or Cognizable Chill On Speech

      Even assuming Plaintiffs had alleged the specific contours and circumstances

of the speech they wish to engage in, they still would lack standing because the Rule

simply does not apply to or proscribe activities that are legally protected by the First

Amendment. To the extent Plaintiffs wish to engage in such activities, therefore,

there is no credible threat of enforcement and Plaintiffs cannot “manufacture

standing” through a purported chill “based on their fears of [that] hypothetical future

harm that is not certainly impending.” Clapper, 133 S. Ct. at 1151.

      Specifically, in addition to the Rule’s narrow application to “conduct” that rises

to the level of “discrimination” or “harassment,” the commentary makes clear that

those terms do not apply to constitutionally protected speech. See supra at 6-7. The

grievance procedures likewise require the disciplinary authorities to dismiss a

grievance if the conduct is constitutionally protected.     Id. at 9-10.   Contrary to

Plaintiffs’ assertion, these protections are not “boilerplate” or “meaningless.” Compl.,

¶ 57. The latter protection imposes a binding obligation on the SGC and the state

courts to conduct a constitutional review in every grievance before imposing

discipline, and the former protection is an explicit rule of construction about how the

Rule should be interpreted and applied.        Both protections “ma[ke] it clear that

prosecutions under the [Rule] should not be brought against ‘any expressive conduct

. . . protected from legal prohibition by the First Amendment to the Constitution.’”

Blum, 744 F.3d at 801. They are thus “a valuable indication of [the Judges’] concern

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for the preservation of First Amendment rights in the specific context of the [Rule] in

question,” and “serve[] to validate a construction of the [Rule] which avoids its

application to protected expression.”     Committee in Solidarity with People of El

Salvador v. FBI, 770 F.2d 468, 474 (5th Cir. 1985); see United States v. Johnson, 875

F.3d 360, 367-68 (7th Cir. 2017); United States v. Dillard, 795 F.3d 1191, 1198 (10th

Cir. 2015); Schleifer v. City of Charlottesville, 159 F.3d 843, 853 (4th Cir. 1998). They

therefore preclude a finding that an adverse disciplinary action is certainly

impending based on any protected speech that Plaintiffs wish to engage in.

      Clapper and Blum are instructive. In Clapper, the plaintiffs brought a pre-

enforcement First and Fourth Amendment challenge to a federal statute that allowed

the government to surveil individuals outside of the United States. The statute

expressly required that any surveillance under the statute must comply with the

Fourth Amendment. 50 U.S.C. § 1881a(b)(6). Before any enforcement of the statute

could occur, moreover, the government had to get approval for the surveillance from

the Foreign Intelligence Surveillance Court (“FISC”), which approval required the

FISC to affirmatively determine that the requested surveillance would not violate the

Fourth Amendment. Clapper, 568 U.S. at 406, citing 50 U.S.C. § 1881a(i)(3)(A).

      The Supreme Court held that the plaintiffs lacked standing because their fear

of a future injury was too speculative and depended on a “highly attenuated chain of

possibilities.” Id. at 410. Central among them was the possibility that the judges on

the FISC would authorize surveillance despite the “many safeguards” in the statute.

Id. The Court made clear that this constitutional gatekeeping function performed by



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the FISC was a “critical[]” factor in the standing analysis, and that federal courts

should not “endorse standing theories that require guesswork as to how independent

decisionmakers will exercise their judgment.” Id. at 413-14; see also id. at 406 n.3

(chastising the dissent for minimizing the statute’s safeguards, and in particular the

gatekeeping function performed by the FISC).

      The First Circuit reached a similar conclusion in Blum.           As here and in

Clapper, the statute in Blum contained a rule of construction making clear that

“[n]othing in this section shall be construed (1) to prohibit any expressive conduct . .

protected from legal prohibition by the First Amendment to the Constitution . . . .”

Blum, 744 F.3d at 795. Applying Clapper, the Court held that the plaintiff lacked

standing because a future enforcement action cannot be certainly impending “when

the challenged statute contains . . . explicit rules of construction protecting First

Amendment rights, which in themselves would inhibit prosecution of First

Amendment activities.” Id. at 798, citing Clapper, 133 S. Ct. at 1145 n.3. In so

holding, the Court rejected the same argument that Plaintiffs make here; namely,

that “rules of construction cannot save an otherwise unlawful statute and so are

irrelevant.” Id. at 801; see Compl., ¶ 57. As the First Circuit aptly noted, for purposes

of standing the focus is on legislative intent and the likelihood of a future enforcement

action that conflicts with it. Blum, 744 F.3d at 801. The plaintiff thus lacked

standing because there was “no reason” to think the government would “ignore these

plain expressions of limiting intent” when interpreting and applying the statute, and

the any subjective fear to the contrary was therefore “unreasonable.” Id. at 801-02.



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      Clapper and Blum are dispositive. Like the statutes in those cases, the Rule’s

commentary expressly provides that the Rule does not apply to First Amendment

protected activities, and the Rule therefore requires the SGC and the state courts to

affirmatively determine that an attorney’s conduct is not constitutionally protected

before a violation can be found or discipline imposed. Further, by requiring both the

SGC and the state courts to assess whether any potential discipline would violate an

attorney’s constitutional rights before discipline can be imposed, §§ 2-35(k)(1) and 2-

38(f) require the state judiciary to perform the same constitutional gatekeeping

function that the FISC performed in Clapper. Given these express safeguards in both

the Rule and the grievance procedures, there simply is no plausible argument that a

disciplinary action under the Rule based on an attorney’s constitutionally protected

speech is certainly impending, much less that such an action actually could lead to

the adverse disciplinary action that Plaintiffs supposedly fear. 5



5      The commentary’s reference to “verbal conduct” being within the scope of the
Rule does not compel a different conclusion. “[I]t has never been deemed an
abridgment of freedom of speech or press to make a course of conduct illegal merely
because the conduct was in part initiated, evidenced, or carried out by means of
language, either spoken, written, or printed.” Rumsfeld v. Forum for Acad. &
Institutional Rights, Inc., 547 U.S. 47, 62 (2006). The Supreme Court has thus made
clear that “words can in some circumstances violate laws directed not against speech
but against conduct”—including “sexually derogatory” words that show “sexual
discrimination”—and that state laws prohibiting such conduct raise no First
Amendment concern. R. A. V. v. St. Paul, 505 U.S. 377, 389-90 (1992); see also, e.g.,
Wandering Dago, Inc. v. Destito, 879 F.3d 20, 32 (2d Cir. 2018) (noting that “[m]ost
antidiscrimination laws regulate[] membership and employment policies as conduct,
not as expression,” and that spoken words can violate such laws without raising First
Amendment concerns); Jews for Jesus, Inc. v. Jewish Cmty. Relations Council, Inc.,
968 F.2d 286, 295-96 (2d Cir. 1992) (similar). Nevertheless, it undoubtedly is true
that some spoken words properly can and will be characterized as protected speech,
and not conduct, depending on their nature and the circumstances in which they are
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      Several other factors support and reinforce that conclusion. First, Plaintiffs do

not allege that any person has ever complained about Plaintiffs’ past or intended

speech, indicated they felt discriminated against or harassed by that speech, or

suggested that they wish to seek recourse against Plaintiffs for such speech. Even if

such complaints had been made, moreover, there is no history of enforcement because

the Rule has not even gone into effect yet. And there certainly is nothing to suggest

that the SGC or the state courts intend, or have in any way threatened, to apply the

Rule to First Amendment protected conduct in general, let alone to the kind of

“criticisms” and “harsh words” that Plaintiffs abstractly reference. Given that the

commentary and the grievance procedures prohibit such an application, it simply is

not plausible for Plaintiffs to suggest there is a credible threat of discipline if

Plaintiffs were to engage in legally protected speech that nobody has even complained

about. See Blum, 744 F.3d at 793, 795-99.

      Second, to the extent any possibility of discipline exists at all, it is based on a

long string of hypothetical events that have not yet occurred and that likely never

will. That includes: (1) Plaintiffs actually engaging in concrete and constitutionally

protected speech in forums and circumstances that would be “related to the practice

of law”; (2) an individual member of the public witnessing that speech and

subjectively believing it violates the Rule; (3) that individual member of the public




spoken. For the reasons discussed herein, it is for the state courts to decide whether
an attorney’s actions in any given grievance are constitutionally protected speech
that is excluded from the Rule or discriminatory conduct that properly is subject to
discipline.
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feeling strongly enough about the matter to take the step of filing a formal grievance

complaint; (4) numerous judicial actors—including these Defendants, the local

grievance panel and the reviewing committee of the SGC—all failing to heed the

Rule’s commentary and permitting the complaint to proceed; (5) the full SGC also

ignoring the Rule’s commentary and its independent obligation under § 2-35(k)(1) by

imposing discipline based on constitutionally protected speech; and (6) the

Connecticut Superior Court, Appellate Court and Supreme Court failing to perform

their own judicial function to dismiss a grievance that is based on such protected

activities. It goes without saying that every step in this long string of hypothetical

future events is far too speculative to support Article III standing, especially given

the complete lack of facts alleged in the Complaint to suggest that any of these events

are at all likely to occur. Clapper, 133 S. Ct. at 1148-50.

      That conclusion is buttressed by the fact that virtually all of these speculative

future events depend on “guesswork as to how independent decisionmakers will

exercise their judgment.” Id. at 1149-50. Such guesswork makes it “‘substantially

more difficult’” for Plaintiffs to establish standing as it requires Plaintiffs to show “at

the least” that the third parties not before the Court will “likely” and “predictably”

take the feared action based on the conduct alleged. California v. Texas, 141 S. Ct.

2104, 2117 (2021), quoting Lujan, 504 U. S. at 562, Department of Commerce v. New

York, 139 S. Ct. 2551, 2566 (2019). Plaintiffs have not even arguably met that burden

for the reasons discussed herein.




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      Plaintiffs’ reliance on Greenberg v. Haggerty, 491 F. Supp. 3d 12 (E.D. Pa. 2020)

does not compel a different conclusion, as that case is readily distinguishable. See

Compl., ¶ 66. As an initial matter, Greenberg did involve or discuss the Eleventh

Amendment and is irrelevant on that basis alone.          Unlike Connecticut’s Rule,

moreover, Pennsylvania’s rule did not contain commentary or grievance procedures

that expressly excluded protected First Amendment activities from the scope of the

rule, and it did not require either the Pennsylvania disciplinary authorities or the

Pennsylvania courts to dismiss grievances to the extent they are based on such

activities. Both distinctions are critical to the standing analysis here for the reasons

discussed above.

      Further, Pennsylvania’s Rule was far broader than Connecticut’s and applied

not just to discriminatory “conduct,” but to all “words” that “manifest bias or

prejudice.” Id. at 23-25. The plaintiff also alleged “specific examples” of disciplinary

actions that had been brought. Id. at 23, 24. That broader language and history of

enforcement was critical to the Greenberg Court’s analysis, as it plainly encompassed

the plaintiff’s intended actions. Given the lack of safeguards in the Pennsylvania

rule, the district court held that the defendants could not avoid standing by simply

“ask[ing] Plaintiff to trust them not to regulate and discipline his offensive speech

even though they have given themselves the authority to do so.” Id. at 24.




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      That is not this case. Plaintiffs have neither alleged that they wish to engage

in conduct proscribed by the Rule nor given “specific examples” of disciplinary actions

that have been pursued based on an attorney’s protected speech. More importantly,

Defendants do not ask Plaintiffs to just “trust them” not to discipline attorneys based

on protected speech that Defendants “have given themselves the authority to”

regulate. Id. at 24. To the contrary, both the Rule and the grievance procedures

deprive Defendants of authority to discipline an attorney for engaging in protected

speech. This Court cannot find standing based on a hypothetical future injury that

depends entirely on Defendants ignoring those limitations and exercising authority

that they neither have nor intend to invoke.

                                   CONCLUSION

      The Court should dismiss this case for lack of jurisdiction.

                                               Respectfully submitted,

                                               DEFENDANTS MICHAEL BOWLER
                                               AND MATTHEW BERGER

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                          CERTIFICATE OF SERVICE

      I hereby certify that on December 28, 2021, a copy of the foregoing was

electronically filed. Notice of this filing will be sent by e-mail to all parties by

operation of the Court’s electronic filing system.   Parties may access this filing

through the Court’s system.




                                      /s/ Michael K. Skold
                                      Michael K. Skold
                                      Assistant Attorney General




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